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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


In Re: RFC and ResCap Liquidating Trust             Court File No. 13-cv-3451 (SRN//HB)
Litigation


This document relates to:                                        ORDER

Residential Funding Co., LLC v. Cherry
Creek Mortgage Co., Inc., File No. 13-cv-
3449



       The Court having been advised that the above case has been settled,

       IT IS ORDERED that this action is hereby dismissed, without prejudice, the Court

reserving jurisdiction for sixty (60) days to permit any party to move to reopen the action,

for good cause shown, or to submit and file a stipulated form of final judgment.

                                          BY THE COURT:


DATED: September 27, 2016                 s/Susan Richard Nelson
                                          SUSAN RICHARD NELSON
                                          United States District Judge
